             CASE    0:15-cr-00046-MJD Document 16 Filed 11/26/14 Page
               lZl l) Order Setting Conditions of Rel€se
                                                                        1 of
                                                                   AMullahi   6
                                                                            Mohamud                             Yusuf
AO l99A (Rev.



                                  UMTED STATES DISTRICT COTJRT
                                                for the
                                        District of Minnesota
                                                   a
                                                    I
     United States of America,                       I
                                                     I
                                                     I
                                                     I

     Abdullahi Mohamud Yusuf                         I          Case No. 0864      0:14-01024M-001I54(
                                                     I
          Defendant                                  I



                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

       (l)          The defendant must not violate any federal, state, or local law while on release'

       (2)          The defendant must cooperate in the collection of a DNA sample if it is
                    authorized by 42 U.S.C. $ 14135a.1

       (3)          The defendant must advise the court or the pretrial services office or
                    supervising omcer in writing before making any change ofresidence or
                    telephone number.

       (4)          The defendant must appear in court as required and, if convicted, must
                    surrender as directed to serve a sentence that the Court may impose.
                    The defendant must aPpear at
                    on

                    If blanlq defendant will      be notified ofnext appearance.

       (5)          The defendant must sign an appearance bond, if ordered.




 I
  The Director of the FBI is required by law to promplly expunge from the index described in 42 USC Section
 14132(a), the analysis of the DNa sampie collected from this Defendant upon receipt by the Attomey General
                                                                                                            ofa
certifiJcopy ofjfinal cour! order establishing: 1) that no indictrnent was returned, or 2) that the charges giving rise
to this Ord;setting Conditions ofRelease were dismissed, or 3) that Defendant was aoquitted of the charges
                                                                                                                 giving
rise to this Order setting Conditions of Release.   In the event any of the foregoing  occur, Defendant   or his or her
Attomey    should submii   a proposed Order  to the  Court  speci$ing  which  of the  foregoing  events  occured,   and
sufficient information regarding his or her identity and the charges giving rise to this Order Sefting Conditions of
Release to enable the FBi to match the Order to the DNA sample to be expunged. To accomplish the expmgement'
once the Order is entered, the Defendant or his or her Attomey must send a certified copy ofthe Order to:

         Federal Bureau of Investigation
         Laboraiory Division
         25 0 I Investigation Parkway                                                                   DEC    - 1 2C1!l
         Quantico, VA 22135
         Ath: Federal Convicted Offender Program Manager
 More information is available   at www.fbi.gov/about-usnab,/biometric-analysis/codis/codis-expungement
          CASE 0:15-cr-00046-MJD Document              16 Filed 11/26/14 Page   2 ofMohamud
                                                                          Abdullahi   6         Yusuf
AO t99B (Rev. lU 1l) Addilional Conditions ofRelease


                         ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTmR ORDERED that the defendant's release is subject to the conditions marked
below:


{     ,u,          The defendant is placed in
                   Person or organizati on
                   Address (Only if.above is an
                   City and State
                   Tel No. (y'

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's
,pp.*in* ut uil'"outt pto."edings, and (c) notiff the purt immediately if the defendant violates
                                 - in the cuqt-radian'l quslplv.
a Condition of release or is no longer
                                                                                        /l-zo -ry
                                    i;;;i'.
                                    Signed:       J'ab     '4   lG
                                                                                      Date


trQ)               The defendant must:              5,t\^,v,\\rJtE
      E      (a)   submit to supervision by and report for supervision to the Probation and Pretrial
                   Services Office, telephone number
                   no later than


      tr     (b)   continue or actively seek employment as required by Pretrial Service.



wk           (c)

             (d)
                   continue   or start an education program.

                   sunender any passport to Probation and Pretrial Services as directed.
      tr

      tr (e)       not obtain a passport or other international travel document'


         m (D      abide by the following restrictions on personal association, residence, ot travel:
                   Travel qhqll he resfricted to Minneqofq, rrnlesc aFFroved hy lhe qrperviqing



         tr (g)    avoid all contact, directly or indirectly, with any person who is or may be a
                   victim or witness in the investigation or prosecution, including:



         !   (h)   get medical or psychiatric treatment:



         n(D       return to custody each                            o'clock after being released
                                     o'clock for employment, schooling, or the following
                   purpose(s):
               CASE 0:15-cr-00046-MJD Document 16 Filed 11/26/14 Page   3 of 6
                                                                  Abdullahi Mohamud Yusuf
   AO 1998 (Rev. 12,/l l) Additional Conditions of Release




                                  ADDITIONAL CONDITIONS OF RELEASE

          !       0)     maintain residence at a halfuay house or communify corrections centel,       as the

                         prstrial services office or supervising officer considers necessary'

                  0O     not possess a firearm, destructive device, or other weapon.


          tr      0)     not use alcohol       n   at   all D excessively.
rr Afil\ - t
(ru"v             (m)    not use or unlawfully possess a narcotic drug or other controlled substances
                         defined in 21 u.s.c. $ 802, unless prescribed by a licensed msdical practitioner.

       1[ (n)
          ''              submit to testing for a prohibited substance ifrequired by the pretrial services
      .R                  office or superising oitcer. Testing may be used with random frequency and
  fnyv \                  may include urine testing, the wearing of a sweat patch, a rernote alcohol testing
  V Y'                    system, and/or any form of prohibited substance screening or testing' The
   V                      defendant    **t not obstruct, aflempt to obstruct, or tamper with the efficiency
                          and accwacy ofprohibited substance screening or testing'

           tr (o)         participate in a program of inpatient or outpatient substance abuse therapy and
                          counseling if directed by the pretrial services office or supervising officer'


                  (p)     participate in one of the following location restriction prcgrams and comply
                          with its requirements as dirccted.
                          E (D        Curfew. You are restricted to your residence every day
                                           ! from                   to              ot
                                           X    as directed by the pretrial services officer, or


                          ! (ii)        Home Detention' You are restricted to your rcsidence at all times
                                        except for employment; education; religious services; medical,
                                        substance abuse, or mental health treatment; attomey visits; coult
                                        appeamnces; court-ordered obligations; or otler activities approved
                                        in advance by the pretrial services office or supervising officer; or

                          tr (iii)      Home Incarceration. You are restricted to 24-hour-a-day lockdown
                                        at your residence except for medical necessities and court
                                        appearances or other activities specifically approved by the court.
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                                                              Abdullahi   6
                                                                        Mohamud Yusuf
AO l99B (Rev. l2ll l) Additional conditions ofRelease

                     -       ADDITIONALCONDTTTOI\IS_OFREI]EiISE


       M (q)         submit to location monitoring as directed by the pretrial services office or
                     supervising officer and comply with all ofthe program requirements and
                     insfructions Provided.

                      !             you must pay all or part ofthe cost ofthe pro$am based upon your
                                    ability to pay as determined by the pretrial services office or
                                     upervising officer.

       tx G)         report as soon as possible, to the pretial services office or supervising officer
                     eviry contact with law enforcement personnel, including anests, questioning, or
                     traffic stops.

       txl (s)       The defendant must reside with his parents unless another residence is approved
                     in advance bv the U.S. Probation Officer.
           CASE 0:15-cr-00046-MJD Document 16 Filed 11/26/14 Page  5 of 6
                                                              Abdullahi Mohamud                   Yusuf
 AO 199C (Rey.09/08) Advice ofPenalties



                            AD\TCE OF'PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any ofthe foregoing conditions ofrelease may result in the immediate issuance
of a warrant for your arest, a revocation ofyour release, an order of detenfion, a forfeiture of
any bond, and a prosecution for contempt of court and could result in imprisonment a fine, or
both.
         While on release, if you commit a federal felony offense the punishment is an additional
prison term ofnot more than ten years and for a federal misdemeanor offense the punishment is
an additional prison term ofnot more than one year. This sentence will be consecutive (i.e., in
addition to) any other sentence you receive.
         It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to:
obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate or attempt
to retaliate against a witness, victim, or informant; or intimidate or attemilt to intimidate a
witness, victim, juror, informant, or ofrcer of the court. The penalties for tampering, retaliation,
or intimidation are significantly more serious if they involve a killing or attempted killing.
         If, after release, you knowingly fail to appear as ttre conditions of release require, or to
sunender to serve a sentence, you may be prosecuted for failing to appear or surrender and
additional punishment may be imposed. If you are convicted of:
              (1) An offense punishable by death, life imprisonment, or imprisonment for a term
                     of fifteen years or more - you will be fined not more than $250,000 or
                     imprisoned for not more than 10 years, or both;
              (2) An offense punishable by imprisonment for a term offive years or more, but
                     less than fifteen years - you will be fined not more than $250,000 or imprisoned
                     for not more than five yean, or both;
              (3) Any other felony - you will be fined not more than $250,000 or imprisoned not
                     more than two years, or both;
              (4) A misdemeanor - you will be fined not more than $100,000 or imprisoned not
                     more than one year, or both.
         A term of imprisonmsnt imposed for failure to appear or surender will be consecutive to
any other sentence you receive. In addition, a failure to appear or surrender may result in the
forfeiture of any bond posted.

                                    Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware ofthe conditions
of release, I promise to obey all conditions ofrelease, to appear as directed, and surrender to
serve any sentence imposed. I am aware ofthe penalties and sanctions set forth above.

/14"/*-/"'
         CASE 0:15-cr-00046-MJD
AO l99C (Rev.09/08) Advice ofPenalties   Document 16 Filed 11/26/14 Page  6 ofMohamud
                                                                     Abdullahi 6      Yusuf


                           Directions to the United States Marshal

     t
     !
                 The defendant is ORDERED released after processing.

                 The United States Marshal is ORDERED to keep the defendant in custody until
                 notified by the clerk or judge that the defendant has posted bond and/or
                 complied with all other conditions for release. If sti1l in custody, the defendant
                 must be produced before the appropriate judge at the time and place specified.




nate:
        ------!!e)2lf{-

                                                U.S. Magistrate Judee Jarie S. Maveron
                                                       Printed Name and Title




DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICES U.S. ATTORNEY U.S. MARSHAL
